     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 1 of 10 Page ID #:1



 1

 2

 3

 4
                                                                FEB 21 2025
 5
                                                                     rsm

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                          January 2025 Grand Jury
                                         2:25-CR-00123-AB
11   UNITED STATES OF AMERICA,          CR No. 25-

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [18 U.S.C. § 1956(h): Conspiracy
                                              to Commit Money Laundering; 18
14   SYLAS NYUYDZENE VERDZEKOV,               U.S.C. § 982: Criminal Forfeiture]
     MUSTAPHA NKACHIWOUO SELLY
15      YAMIE,
       aka “Mustapha Selly Yamie,”
16     aka “Mustapha Sellyyamie,”
       aka “Mustapha Yamieselly,”
17        and
     LOVERT CHE,
18
               Defendants.
19

20        The Grand Jury charges:
21                               [18 U.S.C. § 1956(h)]
22                                 [ALL DEFENDANTS]
23   A.   INTRODUCTORY ALLEGATIONS
24        At times relevant to this Indictment:
25        1.    Defendant SYLAS NYUYDZENE VERDZEKOV lived in Chino Hills,
26   California.
27

28
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 2 of 10 Page ID #:2



 1        2.      Defendant MUSTAPHA NKACHIWOUO SELLY YAMIE, also known as

 2   (“aka”) “Mustapha Selly Yamie,” aka “Mustapha Sellyyamie,” aka

 3   “Mustapha Yamieselly,” lived in Inglewood, California.

 4        3.      Defendant LOVERT CHE lived in Lomita, California.

 5        4.      Victim Business 1 was a law firm based in Naples, Florida.

 6        5.      Victim Business 2 was a law firm based in Coral Springs,

 7   Florida.

 8        6.      One type of elder fraud scam was a fraudulent scheme in

 9   which an elderly victim was targeted by one or more imposters

10   purporting to be representatives of internet companies or banks.

11   Using false pretenses, representations, and promises, the imposter

12   would deceive the victim into believing that the victim’s bank

13   account had been compromised and would trick the victim into sending

14   money by interstate wire or check to the imposter, under false

15   pretenses.

16        7.      One type of “real estate” scam was a fraudulent scheme in

17   which an imposter would pretend to act as a purported seller of real

18   property.    In fact, the purported seller was not the actual owner of

19   the property and had no authority to sell it.           Using false pretenses,

20   representations, and promises, the imposter would deceive a victim

21   into believing that they were entering into a legitimate sale of the

22   property and would trick the victim into sending money by interstate

23   wire or mailing a check to the imposter, under false pretenses.

24        8.      Synthetic identities were false identities created using

25   certain personally identifiable information, such as names, dates of

26   birth, and social security numbers, that typically consisted of a

27   combination of stolen and fictitious information.            Synthetic

28
                                             2
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 3 of 10 Page ID #:3



 1   identities could be used to create false business names and entities

 2   (i.e., “shell companies”).

 3   B.   THE OBJECT OF THE CONSPIRACY
 4        9.    Beginning on a date unknown, but no later than on or about
 5   November 30, 2021, and continuing to the present, in Los Angeles
 6   County, within the Central District of California, and elsewhere,
 7   defendants VERDZEKOV, YAMIE, and CHE (collectively, “defendants”)
 8   conspired and agreed with one another and others known and unknown to
 9   the Grand Jury to knowingly and intentionally commit an offense
10   against the United States, namely, money laundering, in violation of
11   Title 18, United States Code, Section 1956(a)(1)(B)(i), by conducting
12   and attempting to conduct financial transactions affecting interstate
13   and foreign commerce with the intent to conceal and disguise the
14   nature, location, source, ownership, and control of the proceeds of
15   some form of specified unlawful activity, namely, mail fraud, in
16   violation of Title 18, United States Code, Section 1341 and wire
17   fraud, in violation of Title 18, United States Code, Section 1343.
18   C.   THE MANNER AND MEANS OF THE CONSPIRACY
19        10.   The object of the conspiracy was to be carried out, and was
20   carried out, in substance, as follows:
21              a.    Defendants and their co-conspirators would obtain or
22   create fake identification documents, including passports and
23   driver’s licenses, using synthetic identities.
24              b.    Defendants and their co-conspirators would use the
25   fake identification documents to incorporate over 36 shell companies
26   in the State of California.      These shell companies did not conduct
27   legitimate business and were incorporated to further defendants’
28   crimes.
                                             3
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 4 of 10 Page ID #:4



 1              c.     Defendants and their co-conspirators would also open

 2   at least 145 bank accounts and at least 32 private mailboxes under

 3   the names of synthetic identities or the shell companies.

 4              d.     Defendants and their co-conspirators would then cause

 5   the proceeds of elder fraud scams, real estate scams, and other fraud

 6   schemes conducted by co-conspirators to be sent by the victims, by

 7   means including interstate wires and mailings, to private mailboxes

 8   and bank accounts that defendants controlled.

 9              e.     Defendants would deposit the funds from victims into

10   bank accounts they controlled and that they opened under synthetic

11   identities and shell companies, knowing and intending that such

12   deposits would conceal or disguise the nature, location, source,

13   ownership, or control of the funds.

14              f.     Once the funds were received into those accounts,

15   defendants would quickly transfer a substantial portion of those

16   funds, including through wires to other accounts defendants

17   controlled or mobile payments such as Zelle, and would make large

18   cash withdrawals in order to use the stolen funds on expenses for

19   their own personal benefit.

20        11.   In total, defendants laundered at least approximately $10

21   million in funds provided by at least approximately 100 victims of

22   elder fraud scams, real estate scams, and other fraud schemes.

23   D.   OVERT ACTS

24        12.   In furtherance of the conspiracy, and to accomplish its
25   object, defendants VERDZEKOV, YAMIE, and CHE, together with others
26   known and unknown to the Grand Jury, on or about the following dates,
27   committed and willfully caused others to commit the following overt
28
                                             4
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 5 of 10 Page ID #:5



 1   acts, among others, within the Central District of California and

 2   elsewhere:

 3   Overt Acts Related to Victim R.P.

 4        Overt Act No. 1:       On November 30, 2021, defendant YAMIE caused
 5   to be created a shell company called Romehoun Sales using the
 6   synthetic identity of Jerome Calhoun.
 7        Overt Act No. 2:       On January 5, 2022, defendant YAMIE caused
 8   to be opened a JP Morgan Chase bank account ending in -9166 in the
 9   name of Romehoun Sales (“Romehoun Sales Chase account”).
10        Overt Act No. 3:       On September 12, 2022, defendant VERDZEKOV,
11   defendant YAMIE, and their co-conspirators caused fraud victim R.P.
12   to transfer approximately $43,000 into the Romehoun Sales Chase
13   account.
14        Overt Act No. 4:       On September 12, 2022, defendant VERDZEKOV
15   and defendant YAMIE exchanged a text message which discussed the
16   funds stolen from victim R.P., which included images of a receipt
17   from R.P.’s wire transfer and R.P.’s California driver’s license.
18        Overt Act No. 5:       On September 13, 2022, defendant YAMIE
19   withdrew approximately $3,000 from the Romehoun Sales Chase account,
20   traceable at least in part to funds from fraud victim R.P.
21   Overt Acts Related to Victims S.K. and L.K.
22        Overt Act No. 6:       On August 23, 2022, defendants VERDZEKOV and
23   YAMIE exchanged a text message which included details about the
24   synthetic identity of George Obeng, specifically, a photograph of a
25   fake driver’s license and passport from the Republic of Malawi
26   bearing the name and purported date of birth for George Obeng.
27        Overt Act No. 7:       On August 29, 2022, defendant VERDZEKOV and
28   defendant YAMIE caused a Wells Fargo bank account ending in -9398 to
                                             5
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 6 of 10 Page ID #:6



 1   be opened under the synthetic identity of George Obeng (“Obeng Wells

 2   Fargo account”), using the information on the fake Republic of Malawi

 3   passport referred to in Overt Act No. 6.

 4        Overt Act No. 8:       On January 3, 2023, defendant VERDZEKOV and
 5   his co-conspirators caused victims S.K. and L.K. to mail a $90,000
 6   cashier’s check to a private mailbox located in Torrance, California.
 7        Overt Act No. 9:       On January 5, 2023, defendant VERDZEKOV
 8   deposited the $90,000 cashier’s check from victims S.K. and L.K. into
 9   the Obeng Wells Fargo account.
10        Overt Act No. 10:      On January 26, 2023, defendant VERDZEKOV
11   sent defendant YAMIE a text message, stating in part “all my George
12   obeng [sic] accounts closed.”
13   Overt Acts Related to Victim J.G.
14        Overt Act No. 11:      On February 18, 2023, defendant CHE caused a
15   private mailbox located at 28364 South Western Avenue, Unit 457,
16   Palos Verdes, CA (the “Palos Verdes Mailbox”) to be opened under the
17   synthetic identity of Roger Coffman.
18        Overt Act No. 12:      On February 22, 2023, defendant CHE and his
19   co-conspirators caused victim J.G. to mail a $63,750 cashier’s check
20   to the Palos Verdes Mailbox.
21        Overt Act No. 13:      On March 1, 2023, defendant YAMIE caused a
22   private mailbox located at 21213 Hawthorne Boulevard, Suite 5090,
23   Torrance, CA (the “Torrance Mailbox”) to be opened under the
24   synthetic identity of George Campbell.
25        Overt Act No. 14:      On March 3, 2023, defendant YAMIE and his
26   co-conspirators caused victim J.G. to mail a $249,900 cashier’s check
27   to the Torrance Mailbox.
28        Overt Act No. 15:      On March 4, 2023, defendant VERDZEKOV sent
                                             6
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 7 of 10 Page ID #:7



 1   defendant YAMIE a text message with a photograph of the $249,900

 2   cashier’s check referenced in Overt Act No. 14.

 3        Overt Act No. 16:      On March 4, 2023, after defendant VERDZEKOV
 4   sent the photograph of J.G.’s $249,900 cashier’s check referenced in
 5   Overt Act No. 15, defendant VERDZEKOV sent defendant YAMIE additional
 6   text messages stating, “We need more mailboxes,” and “Cuz checks
 7   better than wires.”
 8        Overt Act No. 17:      On March 4, 2023, defendant YAMIE sent
 9   defendant VERDZEKOV text messages stating, “Far better” and “I’ll get
10   more.”
11        Overt Act No. 18:      On March 6, 2023, co-conspirators caused a
12   $5,200 cashier’s check, traceable at least in part to funds from
13   fraud victim J.G., to be made out to Roger Coffman, a synthetic
14   identity used by defendant CHE.
15        Overt Act No. 19:      On March 7, 2023, defendant YAMIE and his
16   co-conspirators caused victim J.G. to mail a $249,960 cashier’s check
17   to the Torrance Mailbox.
18        Overt Act No. 20:      On or about March 8, 2023, defendant
19   VERDZEKOV sent defendant YAMIE a text message with a photograph of
20   victim J.G.’s $249,960 cashier’s check.
21   Overt Acts Related to Victim A.B.
22        Overt Act No. 21:      On June 30, 2023, defendant YAMIE and his
23   co-conspirators caused victim A.B. to send signed, blank checks
24   associated with A.B.’s personal bank account to the synthetic
25   identity of Kevin Booker at a private mailbox located at 2768
26   Sepulveda Boulevard, Unit 18, Torrance, CA (the “Sepulveda Mailbox”).
27        Overt Act No. 22:      On July 10, 2023, defendant YAMIE deposited
28   a forged check for approximately $55,330 drawn on the account
                                             7
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 8 of 10 Page ID #:8



 1   belonging to fraud victim A.B. into a Wells Fargo bank account ending

 2   in -7759 in the name of shell company Fuasami Container Sales LLC.

 3          Overt Act No. 23:    On approximately July 13, 2023, defendant
 4   YAMIE withdrew approximately $8,000, traceable at least in part to
 5   fraud proceeds from victim A.B., from a Wells Fargo bank account
 6   ending in -7759 in the name of shell company Fuasami Container Sales
 7   LLC.
 8   Overt Acts Related to Victim Business 1
 9          Overt Act No. 24:    On March 20, 2023, defendant VERDZEKOV and
10   his co-conspirators caused Victim Business 1 to mail a $124,021 check
11   to an address in Tarzana, California.
12          Overt Act No. 25:    On April 18, 2023, defendant VERDZEKOV
13   deposited the $124,021 check from Victim Business 1 to a Wells Fargo
14   bank account ending in –7668 in the name of victim W.K.
15   Overt Acts Related to Victim Business 2
16          Overt Act No. 26:    On August 12, 2022, co-conspirators caused
17   to be opened a Wells Fargo bank account ending in -1121 in the name
18   of shell company Whiskey Distributors (“Whiskey Distributors Wells
19   Fargo account”), using the synthetic identity of Kevin Brown.
20          Overt Act No. 27:    On December 19, 2022, defendant VERDZEKOV
21   and his co-conspirators caused Victim Business 2 to wire $63,962 to
22   the Whiskey Distributors Wells Fargo account.
23          Overt Act No. 28:    On December 19, 2022, defendant VERDZEKOV
24   withdrew approximately $2,000 from the Whiskey Distributors Wells
25   Fargo account traceable at least in part to fraud proceeds from
26   Victim Business 2.
27

28
                                             8
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 9 of 10 Page ID #:9



 1                               FORFEITURE ALLEGATION

 2                                 [18 U.S.C. § 982]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1), in the event of any defendant’s

 7   conviction of the offense set forth in the sole Count of this

 8   Indictment.

 9        2.    Any defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   Any property, real or personal, involved in such

12   offense, and any property traceable to such property; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), the defendant,

19   if so convicted, shall forfeit substitute property, if, by any act or

20   omission of the defendant, the property described in the preceding

21   paragraph, or any portion thereof: (a) cannot be located upon the

22   exercise of due diligence; (b) has been transferred, sold to, or

23   deposited with a third party; (c) has been placed beyond the

24   jurisdiction of the court; (d) has been substantially diminished in

25   value; or (e) has been commingled with other property that cannot be

26   divided without difficulty. Substitution of assets shall not be

27   ordered, however, where the convicted defendant acted merely as an

28   intermediary who handled but did not retain the property in the
                                             9
     Case 2:25-cr-00123-AB   Document 1   Filed 02/21/25   Page 10 of 10 Page ID #:10



 1   course of the money laundering offense unless the defendant, in

 2   committing the offense or offenses giving rise to the forfeiture,

 3   conducted three or more separate transactions involving a total of

 4   $100,000.00 or more in any twelve-month period.

 5                                              A TRUE BILL
 6

 7                                              /S/
                                                Foreperson
 8

 9    JOSEPH T. MCNALLY
      Acting United States Attorney
10

11

12    LINDSEY GREER DOTSON
      Assistant United States Attorney
13    Chief, Criminal Division
14    KRISTEN A. WILLIAMS
      Assistant United States Attorney
15    Chief, Major Frauds Section
16    SCOTT PAETTY
      Assistant United States Attorney
17    Deputy Chief, Major Frauds
      Section
18
      SARAH S. LEE
19    GREGG E. MARMARO
      Assistant United States Attorneys
20    Major Frauds Section
21

22

23

24

25

26

27

28
                                             10
